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          EXHIBIT 1
         Redacted Version of
Document Sought to be Sealed
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                      UNITED STATES DISTRICT COURT

                     NORTHERN DISTRICT OF CALIFORNIA




    IN RE:    FACEBOOK, INC.          MDL No. 2843

    CONSUMER PRIVACY USER             Case No. 18-md-02843-VC-JSC

    PROFILE LITIGATION

    ------------------------/




                             CONFIDENTIAL



                REMOTE DEPOSITION OF JACKIE CHANG

                     Thursday, December 16, 2021




    Job No. 4976949

    Reported Remotely and Stenographically by:

    JANIS JENNINGS, CSR No. 3942, CLR, CCRR

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8                REMOTE DEPOSITION OF JACKIE CHANG, located

9    in Hillsborough, California, taken on behalf of the

10   Plaintiffs, beginning at 9:43 a.m., on Thursday,

11   December 16, 2021, sworn remotely by Janis Jennings,

12   Certified Shorthand Reporter No. 3942, CLR, CCRR,

13   located in the City of Walnut Creek, County of

14   Contra Costa, State of California.

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                                                                Page 3
1    REMOTE APPEARANCES:

2

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                                                                Page 4
1    APPEARANCES:

2

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15        Also Remotely Present:

16               DANIEL GARRIE, SPECIAL MASTER

17               JAMS

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20

21               IAN CHEN, ESQ., Facebook, Inc.

22               SHAWNA HAYNES, Videographer

23

24

25
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                                                              Page 69
1    again?                                                         11:23

2        Q.    Do you know when Facebook first started              11:23

3    using APIs with its partners?                                  11:23

4        A.    I'm not sure I understand that question.             11:23

5    Technically, I don't know.                                     11:23

6        Q.    Do you know who came up with the various             11:23

7    APIs that Facebook has?                                        11:23

8        A.    No.                                                  11:23

9        Q.    Are you familiar with the concept of Friend          11:23

10   Sharing on the Facebook platform?                              11:23

11       A.    I think I've heard of it, but I don't know           11:23

12   what it is.                                                    11:23

13       Q.    Are you aware that on the Facebook platform          11:23

14   for a period of time, when a friend downloaded an              11:24

15   app, that app could obtain access to that person's             11:24

16   friends via Friend Sharing APIs?                               11:24

17             MR. FALCONER:    Objection.   Form.                  11:24

18             Go ahead.                                            11:24

19             THE WITNESS:    I don't remember.                    11:24

20   BY MR. LOESER:                                                 11:24

21       Q.    You don't remember anything about that?              11:24

22       A.    No.                                                  11:24

23       Q.    That's not something you were involved at            11:24

24   all in?                                                        11:24

25       A.    I don't remember.                                    11:24
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10             DEPOSITION REPORTER:    Excuse me.    There was   12:09

11   an interruption in the audio.     Can you repeat your       12:09

12   question, please, Counsel.                                  12:09

13   BY MR. LOESER:                                              12:09

14
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11             MR. FALCONER:   Objection.    Form.               12:12

12             THE WITNESS:    Sorry.   Is that a question       12:12

13   or...                                                       12:12

14   BY MR. LOESER:                                              12:12

15
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4        A.    I don't remember.                                 12:29

5        Q.    Did you receive annual performance reviews?       12:29

6        A.    In what year?                                     12:29

7        Q.    In any year.                                      12:29

8        A.    I received a performance review.                  12:29

9        Q.    And in connection with your performance           12:29

10   review, were you required to describe what you did          12:29

11   during the year that was being reviewed?                    12:29

12       A.    I believe so, yes.                                12:29

13       Q.    And in those performance reviews, were you        12:29

14   careful to make sure that you described all of the          12:29

15   important, or at least the most important things,           12:29

16   you worked on?                                              12:29

17       A.    At that time, yes.                                12:29

18




24       Q.    Okay.   Would that be generally an accurate       12:30

25   statement, though, that the tasks that you performed        12:30
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                                                             Page 130
1              MR. FALCONER:   Yeah.   I mean, I'm not going     13:46

2    to make that commitment to you, but like I said,            13:46

3    I'll look into it.                                          13:46

4    BY MR. LOESER:                                              13:46

5




15       Q.    Is it your practice to send email that            13:46

16   includes false information?                                 13:46

17       A.    I -- I don't know.    I don't really              13:46

18   understand that question.                                   13:46

19       Q.    Is it your general practice when you're           13:46

20   communicating with your colleagues to send them an          13:46

21   email that contains false information?                      13:46

22       A.    I -- I don't know.    I -- I usually don't        13:47

23   have that intention.                                        13:47

24       Q.    And so when you wrote this email, is it fair 13:47

25   to assume that you were endeavoring to communicate          13:47
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                                                             Page 131
1    accurate information?                                       13:47

2              MR. FALCONER:    Objection.   Form.               13:47

3              THE WITNESS:    So, again, I don't -- like I      13:47

4    don't remember this.     I don't want to assume like --     13:47

5    yeah, I don't want to assume anything.                      13:47

6    BY MR. LOESER:                                              13:47

7        Q.    I'm not asking you if you remember this           13:47

8    email.   I'm asking you if -- you sent this email;          13:47

9    right?                                                      13:47

10       A.    That's what it says.                              13:47

11       Q.    And it was your general practice when             13:47

12   sending email to communicate accurate information;          13:47

13   right?                                                      13:47

14       A.    Yes.                                              13:47

15       Q.    And it was not your general practice to           13:47

16   communicate information that you knew to be false;          13:47

17   right?                                                      13:47

18       A.    Again, I feel like that's -- I don't know.        13:47

19   Like I don't know what the information is, so my            13:47

20   intent generally is not -- I don't know the                 13:47

21   information itself.                                         13:48

22       Q.    Right.   I'm not asking you if the                13:48

23   information is or isn't false.     I'm asking you if it     13:48

24   is your intent to generally communicate accurate            13:48

25   information in your --                                      13:48
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                                                             Page 132
1        A.    It is my intent to, yes, provide                  13:48

2    information.                                                13:48

3        Q.    And you testified you couldn't recall most        13:48

4    of what we talked about with regard to this email.          13:48

5              Is there something else that you can think        13:48

6    of that would refresh your recollection regarding           13:48

7    the events discussed in this email?                         13:48

8        A.    Not that I know of.                               13:48

9        Q.    And so would you agree that this email is         13:48

10   the best evidence, that you're aware of, of what you        13:48

11   knew and were thinking at the time regarding these          13:48

12   topics?                                                     13:48

13             MR. FALCONER:   Objection.    Form and            13:48

14   foundation.                                                 13:48

15             THE WITNESS:    So, again, I can't make that      13:48

16   assumption.                                                 13:48

17   BY MR. LOESER:                                              13:48

18       Q.    You can't make the assumption that this           13:48

19   email is the best evidence of what you were thinking        13:48

20   at the time you wrote the email?                            13:48

21       A.    Correct.   I don't know.                          13:49

22       Q.    But you can't remember -- you can't identify 13:49

23   anything else that would be a more accurate                 13:49

24   reflection of what you were thinking at the time you        13:49

25   wrote this email?                                           13:49
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                                                             Page 133
1        A.    Correct.   I don't -- I don't know, so I          13:49

2    don't know what the expanse is.                             13:49

3        Q.    Is it fair to say that if this email doesn't 13:49

4    refresh your recollection of the events at the time,        13:49

5    you're not aware of anything else that would?               13:49

6        A.    I don't -- I don't know.                          13:49

7        Q.    You don't know if there is any other              13:49

8    evidence that would refresh your recollection?              13:49

9        A.    That question would assume I would know,          13:49

10   which I don't know.                                         13:49

11       Q.    But I'm asking you, do you know of any other 13:49

12   evidence that would refresh your recollection?              13:49

13       A.    I don't know.                                     13:49

14       Q.    You don't know if there is any other              13:49

15   evidence that would refresh your recollection?              13:49

16       A.    Again, I don't know what I don't know, so I       13:49

17   can't make that assumption that I would know.               13:49

18       Q.    And if there were something else that might       13:50

19   refresh your recollection, what might that be?              13:50

20             MR. FALCONER:   Objection.    Asked and           13:50

21   answered.   Lack of foundation.                             13:50

22   BY MR. LOESER:                                              13:50

23       Q.    You didn't -- there's not like a recorded         13:50

24   transcripts of communications that you had, as far          13:50

25   as you know, is there?                                      13:50
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                                                               Page 134
1          A.    I don't -- to my knowledge, I don't think       13:50

2    so.                                                         13:50

3          Q.    Is it fair to say that if someone wanted to     13:50

4    figure out what you were thinking about these topics        13:50

5    at the time of this email, this email would be a            13:50

6    good guide for what you were thinking?                      13:50

7                MR. FALCONER:   Objection.   Form and           13:50

8    foundation.                                                 13:50

9                 THE WITNESS:   Again, I can't speculate on     13:50

10   that.                                                       13:50

11   BY MR. LOESER:                                              13:50

12         Q.    I'm not asking you to speculate on anything. 13:50

13   I'm just asking you if you think this email would be        13:50

14   a good guide of what you were thinking about the            13:50

15   topics discussed in the email --                            13:50

16         A.    Well, that would require me to speculate.       13:51

17         Q.     What would it require you to speculate at?     13:51

18         A.    You're asking me if I know if this is the       13:51

19   best, which would assume I know what everything is          13:51

20   and I don't know what everything is, so I don't             13:51

21   know.      So I can't make that assumption.                 13:51

22         Q.    Let me be specific.   Would you agree that      13:51

23   this email is a good guide of what you were thinking        13:51

24   about the topics discussed in the email at the time         13:51

25   you sent the email?                                         13:51
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                                                                Page 135
1              MR. FALCONER:    Objection.   Form.   Foundation 13:51

2    and asked and answered.                                      13:51

3              THE WITNESS:    Again, when you say "good," I      13:51

4    don't know where I could like -- where I could say I         13:51

5    know what a definition of good means.                        13:51

6    BY MR. LOESER:                                               13:51

7        Q.    I will try one more time.     Would you agree      13:51

8    that the email that you wrote is evidence of what            13:51

9    you were thinking about the subjects discussed in            13:51

10   your email at the time you sent the email?                   13:52

11             MR. FALCONER:    Objection.   Excuse me.           13:52

12   Objection.   Form.                                           13:52

13             THE WITNESS:    Again, I don't remember.     I     13:52

14   know the email is there, so I don't want to                  13:52

15   speculate what I was thinking because I don't know.          13:52

16   BY MR. LOESER:                                               13:52

17       Q.    Do you ever go back and read your old emails 13:52

18   to try and understand what you were thinking at some         13:52

19   earlier time?                                                13:52

20       A.    Generally, no.    I have a lot of emails.          13:52

21       Q.    Have you ever done that?                           13:52

22       A.    Have I ever looked at an email?                    13:52

23       Q.    Have you ever gone back and looked at an           13:52

24   email you wrote earlier to refresh your recollection         13:52

25   about what you were thinking at the time on a                13:52
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19             MR. LOESER:   We can go to the next exhibit.      14:31

20             (Exhibit 13 marked for identification.)           14:32

21   BY MR. LOESER:                                              14:32

22       Q.    This will be Exhibit 13, which is an              14:32

23   email from Simon Cross to you and others, dated             14:32

24
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6              SPECIAL MASTER GARRIE:     Sorry.   When we get   14:36

7    to a breaking point -- any idea when that may be?           14:36

8              MR. FALCONER:   I was thinking after the          14:36

9    next -- after we are done with this document.               14:36

10             MR. LOESER:   That's fine.                        14:36

11             SPECIAL MASTER GARRIE:     And then I would       14:36

12   like all the lawyers to be moved into another room.         14:36

13   Thank you.                                                  14:36

14   BY MR. LOESER:                                              14:36

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19             MR. LOESER:   This is a fine time to take a       14:38

20   break, as Special Master Garrie has requested.              14:38

21             THE VIDEOGRAPHER:    Okay.   This marks the end 14:39

22   of media No. 3 in the deposition of Jackie Chang.           14:39

23   Going off the record.    The time is 2:39.                  14:39

24             (Off the record.)                                 14:39

25             THE VIDEOGRAPHER:    This marks the beginning     15:04
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19       Q.    Who would know that?                              16:25

20       A.    I don't -- I don't know.                          16:25

21       Q.    Okay.   You have no idea?                         16:25

22       A.    Not for an individual person, no.                 16:25

23       Q.    And so in your work now with academic             16:25

24   partnerships, if you wanted to figure out if an             16:25

25   academic partner had continued access to friends            16:25
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                                                             Page 219
1    know if it could be classified as whitelist.                16:28

2        Q.    The term "whitelist" is not one you have          16:28

3    used so frequently that you remember to this day            16:28

4    what it means?                                              16:28

5        A.    No.                                               16:28

6        Q.    Do you have any idea of the process that's        16:28

7    used to determine if an app developer or partner is         16:28

8    whitelisted so that they have continued access to           16:28

9    friends permissions?                                        16:28

10       A.    Yeah.   I don't recall it.                        16:28

11       Q.    Do you know if Facebook keeps records of          16:28

12   whitelisted developers/partners?                            16:28

13       A.    I don't know.                                     16:28

14       Q.    You have no recollection at all as to             16:28

15   whether that information is collected and maintained        16:29

16   in one place so that someone could easily find out          16:29

17   who are all of the whitelisted partners or                  16:29

18   developers?                                                 16:29

19       A.    So again --                                       16:29

20             MR. FALCONER:    Asked and answered.              16:29

21             THE WITNESS:    -- that's outside my scope, so 16:29

22   I don't know.                                               16:29

23   BY MR. LOESER:                                              16:29

24
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3    BY MR. LOESER:                                              16:34

4        Q.    Did you have any interaction with a partner       16:35

5    in a discussion of the information -- the                   16:35

6    permissions the partner was interested in, where            16:35

7    they said to you, Hey, we want to arrange so that we        16:35

8    have permission to access friends_video?                    16:35

9        A.    I don't remember specifically like                16:35

10   individual permissions.                                     16:35

11       Q.    Okay.   Do you remember any conversations at      16:35

12   all about friends permissions with any partner?             16:35

13       A.    I don't remember specifically anything about 16:35

14   friends permission.                                         16:35

15       Q.    Do you remember anything generally about          16:35

16   friends permissions?    And particularly, I'm asking        16:35

17   if any partner that you have worked with raised that        16:35

18   as a permission that they were interested in gaining        16:35

19   access to.                                                  16:35

20       A.    I don't -- I don't -- I don't recall.             16:35

21             MR. LOESER:   Okay.   We can go to Exhibit 21. 16:36

22             (Exhibit 20 marked for identification.)           16:36

23             MR. LOESER:   Oh, is it 20?    Yeah.              16:36

24             While that's being loaded, for the record,        16:36

25   this is an email from Simon Cross to, among others,         16:36
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2        A.    I don't recall it specifically.                   16:38

3        Q.    Do you recall it at all?                          16:38

4        A.    No, I don't.                                      16:38

5        Q.    And can you tell me what "app-based GKs"          16:38

6    are?                                                        16:38

7        A.    I don't know.                                     16:38

8        Q.    You have no recollection whatsoever?              16:38

9        A.    No.   Again, I'm not -- I'm not the technical 16:38

10   person, so I just don't -- I don't know technically         16:38

11   what it would mean.                                         16:38

12       Q.    Okay.   Do you know what the Capabilities         16:38

13   tool was?                                                   16:38

14       A.    Not specifically.    I've heard of it, but I      16:38

15   don't know it in detail.                                    16:39

16       Q.    Well, what have you heard about it?               16:39

17       A.    It looks like some sort of permissioning          16:39

18   tool.                                                       16:39

19       Q.    And what does that mean?                          16:39

20       A.    It grants permissions.                            16:39

21       Q.    Who does it grant permissions to?                 16:39

22       A.    So, again, I don't -- I don't know the            16:39

23   technical specifics, so I don't feel comfortable            16:39

24   talking about it in depth because I might                   16:39

25   mischaracterize it.                                         16:39
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1        Q.    Okay.   You've said all that you feel             16:39

2    comfortable saying about it?                                16:39

3        A.    Well, like all that I know about it.              16:39

4
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25       Q.    Did you have any involvement at any point in 17:03
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